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  UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF OHIO
  ----------------------------------------------------------------------
                                                                           :
  UNITED STATES OF AMERICA,                                                :   Case Nos. 1:14-cr-214
                                                                           :             1:18-cv-424
                         Plaintiff,                                        :
                                                                           :
  vs.                                                                      :   ORDER
                                                                           :   [Resolving Docs.1011, 1014]
  ISHMAEL WAHID,                                                           :
                                                                           :
                         Defendant.                                        :
                                                                           :
  ----------------------------------------------------------------------

  JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

             Defendant Ishmael Wahid has filed two motions that essentially amount to a request for this

  Court to reconsider its denial of his habeas petition for relief under 28 U.S.C. § 2255.1 Because those

  motions largely rehash the same arguments Wahid made in his petition, the Court DENIES both

  motions to reconsider for the same reasons given it its earlier order.2

             Only one point requires further discussion. Upon further review of the Sixth Circuit’s

  decision in United States v. Conzelmann,3 the Court believes that it may have erred in relying on the

  PSR’s description of Wahid’s 2003 drug conviction. Nonetheless, the Court also took judicial notice

  of the related state court Shepard 4 documents, namely the indictments and journal entries from the

  2003 conviction. Those documents are sufficient on their own to show that Wahid was convicted

  for manufacturing cocaine and thus support the Court’s decision to dismiss Wahid’s petition. The

  Court has attached copies of these documents to this Order for Petitioner’s convenience and to

  facilitate review by the Sixth Circuit if Wahid elects to proceed with his appeal.




             1
               Doc. 1011, 1014.
             2
               Doc. 1006.
             3
               514 F. App’x. 598 (6th Cir. 2013).
             4
               Shepard v. United States, 544 U.S. 13 (2005).
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  Gwin, J.

         The Court continues to see no grounds to issue a certificate of appealability.


         IT IS SO ORDERED.



  Dated: July 19, 2018                                   s/     James S. Gwin
                                                         JAMES S. GWIN
                                                         UNITED STATES DISTRICT JUDGE




                                                   -2-
